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                                      #765



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

      Plaintiff,

v.

ENOCH SMITH (a.k.a., “Rudy Slack”),
et al.,

      Defendants.                                 Case No. 05-cr-30133-07-DRH



                                     ORDER


HERNDON, District Judge:


            This cause coming before the Court on the Motion of defendant Enoch

Smith to review wire tap information (Doc. 271) and the Court being fully advised in

the premises, finds that the Government, in its Response (Doc. 274), does not object

to the relief sought and that said Motion should be GRANTED.

            Accordingly, the Court hereby ORDERS that counsel representing

defendant Enoch Smith be allowed to inspect and to copy the following:

            A.      A copy of the Court Order and accompanying Application under

                    which any wire, oral, or electronic communication was

                    authorized or approved.


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           B.    All reports and other documents which pertain to the Application

                 or approval of the interception of any wire, oral, or electronic

                 communication.

           IT IS SO ORDERED.

           Signed this 28th day of December, 2006.

                                                  /s/       David RHerndon
                                                  United States District Judge




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